














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


									




NO. 0391-07





LELAND RAY MILBURN, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE SEVENTH COURT OF APPEALS

HEMPHILL COUNTY





	Per curiam.  keasler and hervey, jj., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i) ,
because it does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered:  August 22, 2007

Do Not Publish.


